Case 3:17-cv-00072-NKM-JCH Document 1409 Filed 11/05/21 Page 1 of 2 Pageid#: 24778




                            IN THE UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF VIRGINIA
                                 CHARLOTTESVILLE DIVISION

                                 CIVIL MINUTES – JURY TRIAL
                                                Day Ten


   Case No.: 3:17CV72                   Date: Nov 5 , 2021

     Elizabeth Sines, et al                          Counsel: Michael Bloch, Roberta Kaplan,
     Plaintiff(s)                                    Karen Dunn, Jessica Phillips, David Mills,
                                                     Amanda Liverzani, William Isaacson,
     v.                                              Alan Levine, Emily Cole, Daniel Roy

     Jason Kessler, et al                            Counsel: Bryan Jones, David Campbell,
     Defendant(s)                                    James Kolenich

                                                     Richard Spencer, pro se, Christopher
                                                     Cantwell, pro se

                                                     William ReBrook and Joshua Smith,
                                                     Appearing by Zoom



   PRESENT: JUDGE:                   Norman K. Moon              TIME IN COURT: 8:58-
   10:15=1hr 17min; 10:35-12:30=1hr 55min; 1:35-3:00=1hr 25min; 3:20-4:50 =1hr Total
                Deputy Clerk:        Heidi N. Wheeler/Susan Moody
                Court Reporter:      Lisa Blair


                                        LIST OF WITNESSES

       PLAINTIFF                                          DEFENDANT
     1. Richard Spencer                              1.
     2. Ike Baker Video Deposition
     3. Michael Hill
     4. Thomas Baker


          Plaintiff continues presentation of evidence.

   Additional Information:
   Before jury seated administrative issues addressed.
   Jury seated.
   Instruction read to jury.
   Cross of Spencer proceeds by Mr. Cantwell.
   Cross by Mr. ReBrook
   Break
Case 3:17-cv-00072-NKM-JCH Document 1409 Filed 11/05/21 Page 2 of 2 Pageid#: 24779




   Re-direct
   Video deposition instruction read.
   Ike Baker deposition.

   Testimony of Michael Hill begins.
   Break.
   Testimony resumes.

   Cross by Mr. Jones.
   Break.
   Cross by Mr. Spencer.
   Cross by Mr. ReBrook
   Cross by Mr. Cantwell.
   Cross by Mr. Kolenich.

   Testimony of Thomas Baker.
   Cross by Mr. Spencer.
   Cross by Mr. Cantwell.

   Jury excused until Monday, Nov 8 at 9:00 a.m.

   Out of presence of the jury, trial days addressed. Court adjourned.
